










Opinion issued May 13, 2004











In The
Court of Appeals
For the
First District of Texas
____________

NO. 01–04–00056–CV
____________

IN RE QUIGLEY COMPANY, INC., Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINIONRelator Quigley Company, Inc. has filed a motion to withdraw its petition for
a writ of mandamus.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We grant the motion and dismiss this original proceeding.
&nbsp;
PER CURIAM
Panel consists of Chief Justice Radack and Justices Alcala and Bland.


